116 F.3d 119
    UNITED STATES of America, Plaintiff-Appellee,v.Allen LANDERMAN, David Dewayne Hanks, a/k/a Ed Banks andRandall Boyd Zeigler, a/k/a/ Bo Zeigler,Defendants-Appellants.UNITED STATES of America, Plaintiff-Appellee,v.Rodney Lee HOLLOMAN, a/k/a/ Rod Weatherly and Walter HumbertCushman, Defendants-Appellants.
    Nos. 94-10028, 94-10403.
    United States Court of Appeals,Fifth Circuit.
    June 10, 1997.
    
      John R. Teakell, Fort Worth, TX, John Preston Bradford, Christopher Allen Curtis, Assistant U.S. Attorneys, Dallas, TX, for Plaintiff-Appellee.
      Jack M. Pepper, Plano, TX, for Allen Landerman, Defendant-Appellant.
      James Warren St. John, Fort Worth, TX, for David DeWayne Hanks, Defendant-Appellant.
      Paul Gregory Croushore, Columbus, OH, for Randall Boyd Ziegler, Defendant-Appellant.
      Michael Logan Ware, Fort Worth, TX, for Rodney Lee Holloman, Defendant-Appellant.
      Appeal from the United States District Court for the Northern District of Texas, John H. McBryde, Judge.
      ON PETITIONS FOR REHEARING
      Before BENAVIDES, STEWART and DENNIS, Circuit Judges.
      Prior report:  109 F.3d 1053.
      PER CURIAM:
    
    
      1
      In response to the Government's petition for rehearing we MODIFY our opinion as follows.
    
    
      2
      In part II.A.5 of the opinion, we delete the last sentence and replace it with the following sentence:  Therefore, the convictions of Zeigler, Hanks, Landerman, Holloman, and Cushman are vacated except for the convictions of Holloman and Cushman for criminal contempt, which were obtained in a separate proceeding and unaffected by Ottesen's testimony.
    
    
      3
      In part III of the opinion, we delete the last sentence of the conclusion and replace it with the following sentence:  Accordingly, we AFFIRM the convictions of Cushman and Holloman for criminal contempt;  and VACATE the remaining convictions of Cushman, Holloman, Landerman, Hanks, and Zeigler for conspiracy, mail fraud, wire fraud, and money laundering and REMAND to the district court for further proceedings.  Except as to the changes made and set out above, the petitions for rehearing in the above causes are DENIED.  No further petitions for rehearing will be entertained.
    
    